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The relief described hereinbelow is SO ORDERED.



Signed December 06, 2024.

                                                           __________________________________
                                                                CHRISTOPHER G. BRADLEY
                                                           UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                  §
 In re:
                                                  §       CASE NO. 24-11544-cgb
 JETALL COMPANIES, INC.                           §
                                                  §       CHAPTER 11
                  Alleged Debtor.
                                                  §

     ORDER TRANSFERRING CASE TO THE SOUTHERN DISTRICT OF TEXAS

          On December 4, 2024, an Involuntary Petition Against a Non-Individual was filed against

Jetall Companies, Inc. The Court has determined that this case should be transferred to the

Southern District of Texas in the interest of justice. Accordingly,

          IT IS HEREBY ORDERED and NOTICE is given that the above-captioned case is

transferred from this Court to the Honorable Jeffrey P. Norman in the United States Bankruptcy

Court for the Southern District of Texas.

          IT IS FURTHER ORDERED that the Clerk of the Court shall immediately cause a copy

of this order to be served on all parties in interest in this case.

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